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                          criminar compraint                                AUSAs Vikas Didwania, BaryJonas,
 I   N Tftlffiru11)                                                                       Wells (312) 353-5300
                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
                                                                              HA€I.TRATEST'DGEWTIEHA,{
        UNITED STATES OF AMERICA
                                                                    CASE NUMBER:
                               v.

ASHRAF AL SAFOO, also known as Abu Al'-
                                                                         18C            R          696
Abbas Al-Iraqi, Abu Shanab and Abbusi                              UNI)ER SEAL

                                                  CRIMINAL COMPI"AINT
                I, Jennifer M. Hergenroeder, the complainant in this case, state that the following is
true to the best of my knowledge and belief.

From in or about June 201.,7 to the present, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere, ASHRAF AL SAf'OO, also known as Abu Al'-Abbas Al-Iraqi,
Abu Shanab and Abbusi violated:


              Cod,e   Section'                                    Offense Description
      fitle   18, United States Code,    Section            Conspiracy to Provide Material Support and
      2BggB                                                 R.esources to a Foreign Terrorist Organization

                This criminal complaint is based upon these facts:

                It   Continued on the attached sheet.

                                  FILED
                                    00T 16        2010
                                                                      Special Agent, Federal Bureau of
                                 M, OAVID WEI6MAN                     Investigation (FBI)
                                 MAGISTFATE JUDOE
                             UNITEO STATES   DI   STRICT COURT
        Sworn to before me and signed in my presence.


         Date: October l-6.2018


         City and state: Chicaeo,Illinois                          M. David Weismap, U.S. Maeistrate Judge
                                                                            Printed nan'Le and Title
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                                         AFFIDAVIT

             I, Jennifer M. Hergenroeder, being duly sworn, state as follows:

      1.     I am a Special Agentwith the Federal Bureau of Investigation, and have

been so employed since approximately August 2016.I am cur:rently assigned to the

Federal Bureau of Investigation's Joint Terrorism Task Force. As part of my duties

as a FBl'special Agent,   I   investigate criminal violations relating to international

terrorism, including the provision and attempted provision of material support or

resources to terrorists and foreign terrorist organizations,      in violation of Tit1e 18,

United States Code, Sections 2339A and 23398. As a result of my training and

experience, to include information provided by other federal agents with applicable

knowledge, I am familiar with the tactics, methods, and techniques used by terrorist

networks and their members. As part of my job, I have participated in the execution

of multiple federal search warrants. In addition,          I   have conducted numerous

investigations involving the use of the Internet, email and social media to further

criminal activity.

      Z.     This affidavit is submitted in support of a criminal complaint alleging

that Ashraf AL SAFOO violated fit1e        1-8,   United States Code, Section 23398 by

conspiring   to provide material     support .and resources, namely, personnel and

services, to a designated foreign terrorist organization, namely, the Islamic State of

Iraq in al-Sham, herein after "ISIS.".
       g.    According to immigration records, Ashraf AL SAFOO is a 34-year-old

naturalized U.S. citizen who was born in Mosu1, Iraq and moved to the United States
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in September 2008. Based on physical surveillance, AL SAFOO's driver's license, and

utility   service records, AL SAFOO resides in Chicago, Illinois.

          4.    AL SAFOO and his      co-conspirators are members of Khattab Media

Foundation ("J(hattabl'). As explained in greater detail below, Khattab is an internet-

based orgarization dedicated to the creation and widespread dissemination of ISIS

propagand.a, including edited video content, articles and essays, and infographics

created through the use of video and photo editing and other similar sofbware.

Khattab haS sworn bayat, or an oath of allegiance, to ISIS. Khattab posts its pro-ISIS

propagand.a across multiple social media platforms including            Tkitter,   Facebook,

YouTube, and Social Media Application.l Because the propaganda created and

distributed by Khattab includes messages that promote violence, Khatta.b members

frequently have their social media accounts suspended or deleted for violating the

Terms of Service of those platforms. Because access to these platforms is critical to

ISIS's and Khattab's mission, when Khattab members' social media accounts are

suspended. or terminated, they seeli access to new accounts by hacking, or stealing,

accounts of legitimate social media users and by creating accounts under fake names

and id.entifiers. These accounts are distributed to Khattab members to use in

disseminating ISIS propaganda.




        l The government has redacted the name of the social media application but can
provide it to the Court upon request. SoCiaI Media Application is described in further detail
in Section II below.
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      5.      In   addition, Khattab members employed sophisticated operational

security measures to conceal their identities online and elsewhere. For example, they

shared information about how to maintain online anonymity, including TOR (The

Onion Router) browsers and Virtual Private Networks, among other techniques and

software.

      6.      Because   this affidavit is being submitted for the limited purpose of
establishing probable cause in support of a criminal complaint charging AL SAFOO

with conspiring to provide material support and resources to a foreign terrorist
organization, and multiple related search wanrants,    I have not included   each and

every fact known to me concerning this investigation. I have set forth only the facts

that I believe are necessary to establish probable cause to believe that the defendant

committed the offense alleged    in the complaint and that there is evidence of the
charged offense contained within the items to be searched.

      7.      This affidavit is based on my personal knowled.ge, training, and
experience, inforrnation provided to me by other law enforcement agents, my review

of communications of Khattab members including AL SAFOO captured by an FBI

Ilndercover Employee (UCE1), and my review of publicly available information.

      8.      UCE1 has preserved conversations among members of Khattab that

occurred on'social Media Application , as well as conversations UCE1 had with AL

SAFOO on Socia1 Media Application . Unless otherwise specified, aII conversations

described   in this Affidavit were in Arabie. IJsernames originally rendered in Latin

characters are placed     in   quotation marks.   All other usernames have been

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transliterated from the original Arabic. Some of the preserved conversations have

been translated and summarized             in this Affidavit. The summaries of       the

conversations do not include all statements made or topics covered during the course

of the conversations. I based the summaries and the language quoted from the

preserved conversations on my      initial review of draft transcripts prepared by FBI
personnel and are not based on final, verbatim transcripts. At various points in the

Affidavit, I also have indicated (sometimes in brackets) my interpretation of words

and phrases used in the conversations. My summaries and interpretations are based

on the context of the conversations, events occuming before or after tlre conversations,

information received from UCE1, my kno*ledge of the investigation as a whole, my

training and experience, and the training and experience of other law enforcement

officers involved in this investigation.

                      SIII\IMARY OF THE NTTTSITGATION

      9.        As described in more detail below, AL SAFOO, and members of Khattab,

referred to herein as other CO-CONSPIRATORs or CCs, have conspired to provide

material support and resources, namely, personnel and services, to ISIS, a designated

foreign terrorist organization. Specifically, A1-Safoo and the CCs were working at the

direction of .and   in coordination with ISIS and ISIS' media office, created and
d,isseminated ISIS propaganda, recruited for ISIS, encouraged individuals to carry

out attacks on behalf of ISIS, and supported violent jihad on behalf of ISIS and ISIS'

media office.




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                                       PROBABLE CAUSE

L         BACKGROI]ND ON THE ISI,AMIC STATE OF IRAQ AryD AL.SIIAM
          10.         On October L5, 2004, the United States Secretary of State designated

al-Qa'ida in Iraq, then known as Jam'at al Tawhid wa'al-Jihad, as a Foreign Terrorist

Orgarization under Section 219 of the Immigration and Nationality Act and as a

Specially Designated Global Terrorist under section 1(b) of Executive Order L3224.

          l-1.        On May L5,20L4, the Secretary of State amended the designation of al-

Qa'id.a   in Iraq as a tr'TO under Section 219 ofthe Immigration and Nationality Act

and as a Specially Designated Global Terrorist entity under section 1(b) of Executive

Ord,er t3224to add the alias Islamic State of Iraq and the Levant (*ISIL') as its

primary name. The Secretary also added the following aliases to the Foreign Terrorist

Organization listing: The Islamic State of Iraq and al-Sham ("ISIS," which is how the

FTO witl be referenced herein), the Islamic State of Iraq and Syria, ad.-Dawla aI-

Islamiyya        fi    al-Iraq wa-sh-Sham, Daesh, Dawla     al Islamiya, and A1-Furquan
Establishment for Media Production. On September.2l,2OL5, the Secretary added

the following aliases to the Foreign Terrorist Orga4ization listing: Islamic State,

ISIL, and ISIS. To date, ISIS remains a designated Foreign Terrorist Organization.

          L2.     Abu Bakr al-Baghdadi is the cument leader of ISIS.

          13.     Based on my training and experience,     I am aware that ISIS and other
FTO's hpve offi.cial "media" components that produce and disseminate official

communications. For example, I know that the media components of al-Qaeda in the

Arabian Peninsula and ISIS have produced high quality magazines (e.g., Inspire and
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Dabiq) and the media components of ISIS have used high quality editing, graphics          .




and music to prod.uce videos.

      14.    Based on my training and experience,       I am aware that ISIS uses its
respective "media" components to, among other things:

             a.    Recruit mujahedeen fighters and other personnel including

      doctors, nurses, engineers, and other roles and professions;

             b.    Solicit donations and other fi.nancial support;

             c.    Call for attacks in the West and against other governments and

      civilian populations deemed enemies of ISIS;

             d.    Intimidate governments, private entities and civilians that do not

      share ISIS's violent jihadist philosophy; and

             e.     Claim responsibility for terrorist attacks.

      15.    Based on my training and experience,         I   am also aware that ISIS

members have used social media applications, video-sharing sites, blogs and other

internet-based sites and applications    to distribute their official   communications

inexpensively, safely, and broadly.   In addition, I am aware that ISIS and other
foreign terrorist orgarizatrons use these online tools to communicate (publicly and

privately) with sympathizers and potential recruits, and to fistribute their respective

messages to legitimate media outlets, in order to draw attention to the organizations,

recruit new members, raise money and promote.violent jihad,_all in an effort to catry

out the terrorism-related goals of the organizations.




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       16. In August 20L5, Al Himmah              Library, an official media operation for

ISIS, published online a document titled,'You are a Mujahid, O Media Man," about

the importance of ISIS propaganda.2 In the publication, ISIS proclaimed, "the media

has far-fetched impact in changing balances of battles waged . . . because the media

publishes or disseminates the victories of Muslims against their enemies, shows

support for them, and their heroism in addition to bestowing praise on them. These

issues are bound to invigorate the mujahidin . . . ."

       t7   .     In this same publication, ISIS further proclaimed that the'Jihadi media"

is *no less important ihan engaging in batt1e," and argued that that it "is necessary

to attain       med.ia victory   to go along twithl the escalating military victory."   The

publication equated the importance of ISIS's military victory and victory in the

"propaganda war that the Crusader US and its allies are waging against the Islamic

State," arguing that "(haIf the battle) is a media battle" and "the power of words is

sharper (stronger) than atomic bombs." The publication repeatedly equated the work'

of ISIS propagandists to ISIS soldiers waging violent jihad:'"Inciting jihad is equal to

(waging)    jihad          He who incites (people) is a mujahid in the cause of Allah

Almighty. He will earn the same wages like the brother who goes into jihad . . . ."

Towards the end,, the publication again declared, "So, my dear unknown mefia

soldier, know how valuable your role is in attaining victory. . . .   Mou   are a mujahid

for the cause of Allah . . . ."



       2 According to open source information, the aI Himmah Library is the offrcial media
arm of ISIS responsible for the release of written material.
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       18.    To succeed    in the media battle, the publication instructed the "jihadi
med,ia" to "foighten [the infidels], threaten them     with death, manifest their defects,

and expose their suspicions. Simultaneously, the morale of the soldiers is to be

elevated, the news of their victories disseminated." And       it   described the tasks of the

jihadi media and necessary effort to accomplish ISIS's goals:

       It is no secret - brother media man - that your jihad     the spoken word
                                                                    b5r
       is not limited to talking on1y, but also includes statement, written word,
       printed word, audio clips, and the preparation of the scenarios for the
       re1eases... etc. All these require           of immense physieal effort.
                                           "*"rtiott
       19.    According to the publication, this task was not "simple" but required an
*army of media men']who disseminated'Jihadi media news" on "electronic ruebsites."

       20.    The publication further instructed propagandists to obey ISIS media

officials: "Therefore,   if you obey him lthe media official], you obey Allah;      and   if you

disobey him, you disobey Allah."3

II.    BACKGROIJND ON SOCIAL MEDIA APPLICATON A

       2L.    Based on my training and experience, I have learned that Social Media

Application is a mobile and desktop messaging application.                It   can be used on




       3 Members of Khattab appear to have been aware of this publication and heeded its
call. For example, on or about October LL, 20L7, CC11 posted a message to members of a
Khattab group on Social Media Application (described in more detail below), including AL
SAFOO, instructing members to, l'Prepare to support your religion and state and to embitter
the life of Allah's enemies" and ended the message with the hashtag
"#Journalist3ou_are_a_Mujahid." Based on my training and experience and the content and
context of this conversation, it appearS that this hashtag refers to the title of the Al-Himmah
publication. Similarly, or about October L6, 20L7, CCl1 wrote, "So, o soldiers of the media,
dedicate all your time to almighty Allah for the soldiers of the Islamic Caliphate are thrilled
and they are cheering and glorifying Allah over your media productions." He included the
hashtag "#Journalist3ou-are-a-Muj ahid.'
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smartphones, such as Apple iOS and Google Aadroid devices, and on desktop

computers, by users to send" messages and media to each other.

        22.   To sign up for Social Media Application, a user must provide a phone

number. Social Media Applicationverifies the phone number through a text message

sent to the phope number. Social Media Application users can also select a username

but are not required to. Ilsernames are unique, meaning only one user can have a

username. Social Media Application users can find other users by searching for the

username orby usingthe known phone number of a user. However, users cannotview

the phone number associated with a username. IJsers can also select a display name,

such as a fi.rst and last name. Display names are not unique.

        23.   Social Media Application offers a variety of communication methods for

its users:

        24.   Chats. User,s on Social Media Application can communicate with each

other through chats. They can send eaeh other text messages, photos, videos, any

files, and make voice calls.

        25.   Secret Chats. Secret chats use end-to-end encryption, which means

only the sender and recipient have the ability to view the content of the chats. These

secret chats also disappear and can be set to self-destruct.

        26. Groups.      Social Media Application allows collections     of users   to

communicate with each other in chat rooms called groups. Groups may be invitation

on1y.




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         27.    Social Media Application has advertised that    it   has over two hundred

million active monthly users. Several newspaper articles have described Social Media

Application as the "app of choice" for terrorists, especially ISIS.

         28.    Social Media Application has advertised that   it   has never disclosed any

user information to third parties, including governments. According to Socia1 Media

Application, it has accomplished this in part by using a "distributed infrastructure,"

which means data is stored in multiple data centers around the wor1d.

III.     O\rERVIEW OF KTIATTAB MEDIA FOI.]NDATION
          29.   As explained below, Khattab Media Foundation is an internet-based

organizatrqn dedicated     to supporting ISIS's mission of violent jihad through the

creation and dissemination of pro-ISIS propaganda.

         30.    ASHRAF   AI SAFOO is a leader of Khattab. SAFOO and other Khattab
members agreed to work in coordination with and at the direction and control of ISIS

and ISIS' media office to create and disseminate ISIS propaganda consistent with

ISIS's declaration promoting the'Jihadi media." SAFOO and other Khattab members

communicated via closed Social Media Application groups. Through means described

in greater detail below, the FBI has determined that AL SAFOO is the user of Social

Media Application monikers "Abu Al'-Abbas Al-Iraqi,"'.Abu Shanab" and "Abussi."4




        The attribution of these monikers to A-L SAFOO is discussed in detail in Section V
         a
below. The posts attributed to AL SAI'OO on Social Media Application in this affrdavit were
made using one of these monikers
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         31.   Khattab members coordinated their activities through various private

groups on Social Media Application, each of which served a different function within

the organi zation. I will refer to two particular groups in this affidavit as the "Staff

Group" and the "Writer's Group." UCEL has reviewed and preserved copies of

communications among Khattab members in the Staff Group and Writers Group, to

include AL SAf'OO. The stateiments ascribed to Khattab members in this affidavit,

including AL SAFOO, are taken from the Staff Group and Writers Group.

         32.   The StaffGroup is a group on Social Media Application and was created

on or about June 30,2017 . Although called the "Public Group" by Khattab members,

the StaffGroup was an invitation-only group, which based on posts made within the

group, appears to include Khattab staffmembers. As of approximately April 2,hALB,

the StaffGroup had approximately 21 members, including AL SAFOO. According to

posts made within the group and viewed by UCE1,5 the group discussed and

disseminated ISIS propaganda,       in the form of graphic designs, videos, aud"io
recordings and written articles, arnong others. Some of the propaganda was created

by Khattab members.

         33.   The Writer's Group is a Social Media Application group created on or

about June 30,2017    ald included approximately     13 members, including   AL SAFOO.




     '
       AL SAFOO facilitated UCEl's invitation into this group. Specifically, on or about
         5
March L1, 2018 after a discussion with AL SAFOO about assisting with proofreading draft
publications, UCE1 was added to the "Writer's Group" and "the StaffGroup" group on Social
Media Application which provided UCE1 all communications that remained in these groups
going back to June 30, 20L7, which total over 1000 pages. The communications are in Arabic
and I have reviewed draft translations of many of the communications.
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According Writey's Group postings, the Writet's Group was responsible for

coordinating, drafting, and publishing Khattab's ISIS propaganda. This group was

not public and new members needed administrator approval to join.

             34.   AII posts identified in this affidavit from both the Writer's Group and

the StaffGroup are visible to all members of those groups, including      AI   SAFOO.

         A. Purpose of Khattab Media Foundationo
         Khattab Pledged An Oath of Allegiance to /S/S

         35.       Khattab members formalized the organization's support of ISIS by

renewing Khattab's bayat, or oath of allegiance, to Abu Bakr Al-Baghdadi, the leader

of ISIS. fn or about March 2018, an administrator of the Writer's Group, using the

account "Khattab Media Foundation:' posted a statement entitled, "The Renewal of

Bi'a."   It   stated:

         To enrage the kuffar7 and to terrorize them, we renew our bi'a to the
         commander of the believers and the caliph of Muslims sheikh Abu Bakr
         Al-Baghdadi, may A1lah preserve him, to listen and to obey in what is'
         desirable and undesirable and in times of hardship and prosirerity, and
         to endure being discriminated against and to not dispute the orders of
         those in charge, unless I witness a clear apostasy, for which Allah has
         shown me a clear proof, and Allah is my witness.




        The information contained in this Complaint describing Khattab Media Foundation
         0

is based my training and experience, my review of open source materials, my review of
communications between AI SAFOO and UCE1, my review of material collected by UCE1
from groups on SoCiaI Media Application to which UCE1 had accessthat were devoted to the
coordination of Khattab's ISIS propaganda activities

         7    Kuffar means non-believer.

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      36. I     further understand that through this statement members of the

Khattab Media Foundation Writer's Group, includingAL SAFOO renewed their oath

of allegiance, or bi'a, to ISIS, via its leader Abu Bakr Al-Baghdadi, and pledging to

"Iisten and obey''and to "not dispute the orders of'ISIS leaders.

      37.     On April 2,20L8, AL SAFOO reposted this oath of allegiance in at least

three Social Media Application groups, including 'Arin Al-Mwahidin [The Den of

Monotheistsl, Baqia Wa Tatamadad [trt is Here to Stay] and Jayish Al-Mujahidin

(meariing, "T'he Army of the Mqiahidin"). Based on the content and context of the re-

posting,   I understand that AL SAFOO was publicizing Khattab and its members'
support of ISIS to their audience.

      38.     Khattab's renewal of bi'a was also publicized in other Socia1 Media

Apptication groups. For example, on April 2,2O!8, the renewal of bi'a was posted in

a Socia1 Media Application group that was not affiliated   with Khattab.

      Khattab was formed to support ISIS's Propagand,a Efforts

      39.     Khattab was formed to create and disseminate propaganda on behalf of

ISIS. Khattab members have stated that the images, articles and videos created and

distributed by Khattab are meant to, inter alia, spread fear and recruit for ISIS.

       4A.    For example, on or about June 30,20L7, CCz, a self-described online

administrator for Khattab, wrote that Khattab Media Foundation was:

      administered by many production brothers [Khattab members] who work to
      deliver, through experience and Allah's he1p, the idea. It is concerned with
      Supporting those who are unjustly treated among the nation of Islam, and its
      oppressors through the true shari'a method. It is also concerned with
      supporting the Islamic Caliphate and its methodolog5r.


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       4t.   Khattab's logo, depicted below, includes the black ISIS flag attached to

the gold Khattab logo:




      42.    On or about May 23,2018, Khattab released an organizational design,

below, with a reaffir:nation of their support forISIS, with the accompanying message:

'.A new design, Khattab Media Establishment, titled (Soon in Baghdad), let the far

and the near, the East and the West know that we have sworn and determined that

without the Islamic State there is no security and no peace in Iraq or al-Sham."

       43.   The FBI located a copy of .the "Soon     in   Baghdad" design that was

publically distributed on a T\ritter account that has since been suspended.




      44.    Even before the renewal of the oath, Khattab members made clear that

they were acting at the direction and in support of ISIS and ISIS'media offices. For

example, on Novemb er     4,   20L7,   AI   SAFOO reposted   in the Staff Group an
                                              t4
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encouragement for people to help ISIS          in any way possible, to include by offering
money or themselves. AL SAFOO wrote, "Thus,               it   was incumbent on us to support

them verhally and with money and soul and by.inciting others to target the tyrants

and expose the evil scholars and the Saudi rulers. Therefore, a media campaign was

launched to support # land        oltwo   sanctuaries. So, rlre urge the supporters to back

their brethren with their writings and verbally and with their inciting video clips

and designs or through re-posting the campaign of # O-Land- of revelation end.ure

and #Fight- the Imams- of infidelity as well as the official and supportive releases

that are relevant   to.   this blessed campaign.?'

       45. On December             72, 2017, AL SAFOO reposted           in the'Staff   Group

additional encouragement for the Khattab media operatives to work harder to satisfiz

and support ISIS and ensure the success of ISIS, including by using propaganda to

attack ISIS's enemies. More specifically, he wrote:

       TWitter #

       My Brother/Al-Ansar

You're not dedicating more time for Twitter..!
What's going on?!
Accounts are available, praise Allah, so what are you waiting for?!
Don't let the weakness affIict you. Get rid of your laziness, and..., o dear
And how can they defeat us while we're so many, praise Allah?!
Be careful with the accounts and increase it, and spoil the lives of the infi.dels

       46. On or about December 1.4, 20L7,. CCLL, on the Staff Group,
acknowledged that Khattab Media Foundation was representing ISIS when he sent

the following: 'A message to aII the followers, especially the designers: I advise you

to master your work and increase designs. By Allah, it's a hlaze that         will devour the
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cross worshippers. Don't forget you are the ones who represent the Islamic State on

the,Internet, so present it in a fine way and terorize Allah's enemies. Don't belittle

your support for us because its impact is more intense than arrows."

         4t.     Similarly, or about January 3, 2018, AL SAIOO posted an audio

message on the Staff Group from Abu Musab al Zatqawi.8 With the audio message,

AL SAI'OO eneouraged other members of the Group to respond to ISIS's direction to

spread ISIS's message as widely as possible on social media, specifically he stated:

        Dear brother, the supporter, pay attention; when our State IISISI
                                                        oSoon,
        publishes and announces a new release and say,          Allah willing,"
        in your opinion, what do you think it wants from us. They want us to
.       spread the announcement on the widest scale beeause it is an important
        release. So what are you going to do? Gather your strength and set
        IVitter *laze;'
         48.     On or about January 28,2i0L8, CCl published       in the Staff Group an

audio message entitled "Media 'war." CC stated that the message was from the

"Islamic State" and that'"The infi.d.els have designated a large sum of money to stop

the Islamic State Media and its supporters. The more the infidels restrict the media

of our State [ISIS], the more we know that we are defending a great cause."

       ' 49.     On or about May 23, 2018, AL SAFOO posted the following message on

multiple Social MediaApplication groups, includingthe StaffGroup, about Khattab's

operations and the goals of its propaganda efforts: "Brothers, roll up your sleeves! Cut

video publications into small clips, take still shots, and post the hard work of your




        a   Abu Musab alZarqawiwas the founder of A1 Qaeda in lraq, which was the precursor
to   ISIS'
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brothers in the apostate's pages and sites. Participate in the war, and spread fear.

The Islamic State doesn't want you to watch these publications only, rather IS IISISI

wants to mobilize you. If you can't, then work on mobilizing others for the cause.

Know that your rewards will be doubled during religious holi.days, and letting them

[the mujahidin] down is a sin that all Ramadan fasting month will not be able to wash

it."

         50.   On June L2,20L8, a Khattab member wrote on the Staff Group about

Khattab's loyalty to ISIS. "Since the electronic support takes the shape of making

releases, designs, and articles; therefore, we will have a direct connection with Media

Diwan.e This means that we work with them, and as a result, ye listen to them and

obey them. They are mcire     familiar with their reality and their jurisprudence,      so we

have no right to interfere in their affairs, or dictate to them, or be disobedient unless

they order us to sin atwhich point there will be no obedience any:nore."

         Khattab's Rules of Dissemination of Information Online required, acting at
         IS/S's direction and in support of ISIS and ISIS' Media Office

         51.   As explained below, Khattab's rules stated that members, acting at the

direction and control of ISIS and ISIS' media office, had to disseminate only

information supportive of ISIS.




         eBased on my training and experience, and my discussions with Arabic linguists, I
understand divan or diwan to mean "office." In this context, I understand it to refer to ISIS's
official media offices.
                                                 t7
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       52.   On or about November 30, 2017, CCLT published on the Staff Group

Khattab Media Foundation's "rules for dissemination of information online."

Specifically, he wrote:

      Publishers should adhere to the following:

      L. It's prohibited to disseminate any article that contains slander or self-
      promotion.
      2. Disseminate whatever benefits the Islamic State: News, releases,
      articles, and tweets.
      3. Any individual is allowed to disseminate, and his rights will not be
      violated as long as his postings support the Islamic State.
      4.Commitment to the offi.cial IISISI announcement stipulating that it's
      not allowed to claim responsibility for any operation or attack which
      hasn't been announced by the State, may Alldh glori$, it.

      53.    On March 24,2078,AL SAFOO reposted, an admonishment to the Staff

Group that members of Khattab must adhere to ISIS's offi.cial media statements and



      Dear supporter:
      Why do we insist on saying, 'Adhere to the official media?"
      The answer simply is;
      We are in a fierce media-war in which rumors are the main commodity
      for the apostates, Crusaders, the thwarted, and the suspicious.
      The official media department has a reason for not publishing certain
      news.
      It knows when to publish or to avoid publishing;which means not every
      nbws is good for publishirrg.
      This means: Don't be an ear and a tongue for the enemy, without your
      knowledge!
      Here- and sory to say- there are sick individuals who seek fame at
      the expense of the Jihadists.
      Don't be a burd"en on your brothers!
      The Islamic State      and thanks to Allah- has media partners who will
                          -.
      go into the battlefield with their cErmeras to show the truth, so help them
      and don't be a burden on them.




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      Khattab coordinated with /S/S          in its attempted rnerger with   aruother ISIS
      propo,gdrlda group

       54. As explained         below, between October 2OL7 and December 20L7,

members of Khattab discussed the possibility            of a merger with another ISIS
propaganda group,       AI Wafa, but eventually       abandoned    the merger at    ISIS's

instructions.. Al Wafa, like Khattab, disseminated ISIS propaganda on Social Media

Application. These events, further described below, illustrate that Khattab acted at

the direction and control of ISIS and ISIS'media office.

       55.     On or about October   L7   ,20L1, CC1 posted in the StaffGroup, requesting

that Khattab members schedule a time to discuss "a project to join or merge our

foundation with another." AL SAFOO responded on or about October L8, 20L7,

providing dates and times that he was available to discuss the proposed merger.

      56.      On or about December g,20L7,CCB reposted an unknown individual's

post in the Staff Group stating: "a statement about the return of Khattab Media

Foundation to normalcy and being preoccupied with what's important and" what

satisfies the Lord of the Worlds. We're at the service of our Emirs and the Caliphate

State IISISI (Allah bestows it unity), and to back down on any issue that might split

the Monotheistslo). "

   .\ 57.      On or about December 9, 20L7, CC1 posted the following to the Staff

Group: "We would like to inform you and ask you, may Allah bless you, to leave [A[-

Wafa' Foundationl in resporlse to the order of the brothers, to whom we raised the




      10   Muslims who believe in the Oneness of Allah; One God.
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matter as is, and they ordered us to leave with our people. The brief response was (At

your service), and we're well intended."

      58.    On December 10, 20L7, AL SAFOO posted the following statement to

the Writer's Group discussing the failed merger:

      The decision of merger was not in violation neither to Shartah nor to
      the State IISISI and it was done based on mere media discretion,
      therefore correction or mistakes made by any side are subject to personal
      discretion, bepause there is no measure to determine the correctness. So
      no one has the right to say that you made a mistake by the merger,
      because doing a mistake is a relative matter, besides, the State did not
      warn about the foundation before the merger.

      And the decision to split [not to proceed with the merger] was in
.     accordance with the State's [ISIS's] instructions; tnlerefore, it was a right
      decision and all should now agree with you, and the management is
      thanked for this.

      59.    On or about December L0,20L7, CCl, to whom the above statement was

directed, responded, in part "And thanks be to AIIah alone, the brothers inside IISISI

are aware of the matter."

      60. On or about December 1O, 20L7, AI              SAI'OO responded       to    CC1's

statement by posting the following statement:

      I would say, brother, you did what you had to do. So don't let our
      fou:rdation be driven away from its superior goal, which is our support           .

      for the Mujahidin, and let the foundation return to where it was,
      working under the direction of the TISIS medial office not to be occupied
      with the chitchat. Don't forget, Allah defends those who believe. May
      Allah bless you and be generous in rewarding you.

      B. Structure and membership of Khattab
      6L.    Based on messages posted to the Staff and Writer's Groups, 'Khattab

wad organized into divisions, each   with a different function within the organization.

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On June 30, zOLl , CCI- announced the formation of the audio and writers division.

CC1 directed that "the division is administered by brother tCC2l the crew furictions

according to the vision of the foundation inrespect to audio and text. The composition

and writing down the articles, drafting and completed here.          If   needed, they   will   be

recorded and presented as audio. The brothers receive the audio and the text, record

them and.engineer them before handing them to the person in charge ICC2I who                will
make the proper decision about the product."

       62.   .   Sometime later, the audio and writers division were split into two

divisions. In addition to those two divisions there was a design division, a production

division, and an uploading and publishing division. Each division was led by a

different Khattab member. On April 2,z}ll,Khattab administrator CC1 inforrned

the StaffGroup that a product begins with the writers division and proceeds, in order,

to the design, production and aud.io divisions before being sent to the uploading and

publishing division for dissemination to multiple social media outlets in order to be

"more harmful and more successfirl, and our message         will   be received and our work

will not be lost this way and not just for the supporters."

      63.        Some of the services provided by Khattab members included, based on

their expertise, authoring articles, editing articles, creating and editing videos, sound

editing and photoshopping images.

       64.       In order to spread their   message of vioLent   jihad   as widely as possible,

I(hattab translated its propaganda into multiple languages. On occasion, Khattab

designers used online translation programs which did not work as they-planned. For


                                                  21"
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example, on December 19, 20L7, a Khattab merpbgr instructed other members to be

careful about translations: "Two days ago, a design was circulated and the designer

translated it from google. Instead of writing'Beheading'Tbump, he wrote kissing and

hugging Trump. The Americans started laughing at the Islamic State. The image has

circulated and     it   became a joke.'; Accordingly, a translation department staffed by

several Khattab members            *u.   dedicated     to translating Khattab's pro-ISIS
propaganda material into multiple languages including English, French, Bengali and
                                                                                            )



Italian.

        C. AL SAFOO's Role in Khattab

        65.      Prior to March 20L8, based on communications within the 'W'riter's

Group, AL SAFOO was an active member. In March 2018,                 AI   SAFOO was promoted

to head writer in the Writer's Group. On or about March 22,20L8,CC3 announced in

both the Writer's Group and the Staff Group that "Brother Abu-a1-Abbas AIJIraqi,

Altah willing, and will be in charge of all the writers plus scenario writing, and would

coordinate work between the writers."

        66.      On or about March 22,20L8,AI SAFOO responded to CC3's post in the

StaffGroup. AL SAFOO wrote, ". . . May Allah assist us on this duty. Welcome to the

new   writers.   Oh Allah, brothers, for the             of your   religion and State. Don't let
                                               "oppo.i
an hour pass without having a share in support.          Ifyou can't, then don't let a day pass

without supporting those who spent their blood and wealth, and keep your prayers."

I understand     that AL SAFOO was encouraging all Khattab operatives to support

ISIS, through propaganda and other efforts, as extensively +s possible.


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         67.   On the same day, AL SAFOO responded to CCS's post in the "Writer's

Group" announcing AL SAFOO's promotion and instructed:

        Righteous brothers, the writers/
        Please observe the following as much as possible, when writing the articles:

        Avoid duplication, and by duplication, I don't mean your articles only,
        rather, study the field, follow it, and write something distinctive, unique
        from the others, and put an effort in this. Our brother, Shaykh Abu
        Maysara A1-Shami used to Stay up all night, researching one thing, and
        his articles were compiled in one book, so take from him by reading and
        learning.

        68.    On or about May 18, 2018, CC2 introduced a new member to the Writey's

Group, and informed the new user that 'Abu AL-Abbas is the head of the division

here my gracious bother...Copies of articles will be here for review God willing,

brother Abu AL-Abbas       will brief you more into the topic detail." AL        SAFOO

responded and explained the workflow          for the creation and dissemination of
Khattab's ISIS propaganda: AL SAFOO wrote, "We have two reviewer brothers; Abu

AL:BARA'and bother Ibrahim may God reward them good. Every article written by

an author comes to me first then I forward    it to the reviewers then it is forwarded to
the designers then to       classification/mariagement/control    then to upload      and

publishing." I understand the references to proofreaders, designers, coordination,

uploading and publishing to be references to different roles within Khattab.

rv.     AL-SAFOO AND KHATTAB MEDIA FOUNDATTON, FOLLOWTNG
        ISIS'S DIRECTION, CREATED AND DISSEMINATED ISIS
        PROPAGANDA

        69.    I have reviewed publications and statements distributed by Khattab on

various web forums including Social Media Application. The articles and videos,


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consistent with ISIS's direction, celebrate ISIS's terrorist acts and other activities,

threaten terrorist attacks, and attempt to recruit and train ISIS terrorists and

supporters.

      A- Khattab Created and Distributed ISIS Videos
       The Brothers in Marawi

       70.    On or about October !9,2A1r7, Khattab created and published a video

called "The Brothers in Marawi" which was disseminated on multiple social media

forums.11 The video appears to be a propaganda video glorifiring death        in battle on

behalf of ISIS and encouraging individuals           to fight for ISIS. The video is
approximately three minutes in length and begins with a large depiction of the

Khattab logo with the words "Khattab Media Foundation" under the logo. The title of

the video appears next before an overhead shot of a town with the small picture of

the ISIS flag superimposed in the upper right hand corner. The picture in the upper

right hand corner alternates between the ISIS flag and the Khattab logo.

       7L.    The video shows clips of individuals dressed      in military garb holding

weapons; engaglng in battle; holding the ISIS flags; and finishes with injured and

dead soldiers.   In the background, a song in English plays with the words shown on

the screen. The song praises the. flghters of Marawi and states that "diamonds and



       11 According to open source reporting, Marawi is a region of the Philippines that is
controlled by the pro-ISIS Maute Group, formed in 2013 by brothers Omarkhayam and
Abdullah Maute. In 20L7, the Maute Group engaged in a five month long siege of Marawi
that ended on October 23,20L7 with the intervention of the Philippine military.



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pearls and palaces awaiting the man of Tawheed."              I   know from my training and

experience that Tawheed means, generally, that there is only one God.

      Our Gifts Are Read.y

      72.       On or about December 2i,6,2017,Khattab created and published a video

called "Our gifts are ready'' which was disseminated on multiple social media forums.

I have reviewed the video. The Khattab Media Foundation logo appears in the upper

right hand corner until the logo morphs into the ISIS flag. The video begins with a

computer-generated animation of families standing around a Christmas tree w"ith

presents underneath.       In the background there is a large castle with a fireworks
display; the castle appears to resemble a Castle in an amusement park. Next there is

a brief clip of President Trump, stating: 'You have to fight fi.re..." before the video

cuts to explosions overseasl2 with images of dead and ir-rjured children being pulled

from the rubble

      73.       Next the video cuts to a]l black with the words 'T[ow listen you dogs of

hell. This is a message and more are going to follow. This is just the beginning. Our

gifts are now ready." The video shows a present under the Christmas tree that

contains a bomb with a timer ticking down before cutting to a'news clip of a mass

shooting taking p1ace. The video returns to the animated families standing around

the Christmas tree. Standing behind them is "The Khilafa soldir," dressed in all black

and holding what appears to be a detonator. As he raises the detonator, the video




       12   The explosions appear to be occurring in Syria.
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flashes to various cities and iconic landmarks around the globe: Berlin, Brusse1s,

London, Moscow, New York, Paris, and Sydney.13 The soldier then detonates the

bomb and the video is engulfed           in flames. The final image is the Khattab Media
Foundation logo.       I understand that the publication of this video was in accordance
with ISIS' direction to propagandists to strike fear in their enemies through
propaganda.

      74.        Below is a screenshot from the video

                  fi,)
             Sodosior*




              OURGIFTSARf,,RE.AI'Y
              From: ascawss
               -.. - .,:.     .-                        I@EI@E@
      75.       On.the StaffGroup, CC15, instructed Khattab members to publish the

video. "Now, now .....Shocking release from Khattab Media Found.ation (Our Gifts

are Ready) to encourage the lone wolves to attack the Crusaders and cause temor            in




      13   ISIS has claimed responsibitity for terrorist attacks in all of these cities.
                                                   26
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their hearts. Post_ O_ Brothers_ may Allah reward you with goodness. Video release

by # Khattab Media Foundation titled [Our Gifts are Readyl."

         76.   On December 28,20L7, CCL wrote to the StaffGroup, "Praise be to

Allah, the release has reached to some of the targeted ones-" CC1 then distributed a

review of the video by a third-party website. "In a new video...Datsh IISISI threatens

7 Western states: 'Our gifts are ready now'Da1sh       tIS6l terrorist   group threatened

to   carqir out attacks   in 7 Western states on Christmas via a video released tod"ay,
Tuesday."

        Shari'a Protectors

        77.    Based on a eommurrication reviewed and preserved by UCE1, on or

about February L3, 2018, AL SAFOO, posted a 23-minute video titled "Shari'a

Protectors"    in Social Media Application group "Jayish Al-Muiahidin," which was
another online group that publicized pro-ISIS propaganda. The video depicted the

operations of ISIS against the Egyptian army       in Sinai province. The video, which
contains graphic footage of assassinations, close range.combat and bloody scenes,

warned the Egyptian people to stay away from polling stations during the upcoming

presidential election in March 2018.

        B. Khattab Created and Published Pro-ISIS Infographics
        78.    Khattab frequently created and published infographics which combine

photographs, computer generated images and texts. The infographics often contain

threats in English that were addressed to Western countries and appear to be

designed to inspire terrorist attacks.
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       Snipers

       79.     On or about July 28, 20L7, CC1 distributed, to the Staff Group

infographic entitled "Strength is in Shooting."




       80.    The infographic promotes the virtues of being a sniper in furthering the

goals of the Mujahidin. The upper portion of the infographic refers to a "PKK 190"

.which is arr assault rifle, and states:

       Some goals of the sniper...
       Eliminating the leaders and surveillance patrols of the enemy   alay.
       Eliminating specific individuals, based on confirmed intelligence and
       surveillance information.
       Eliminating enemy channels, "There is no protection from a sniper,
       except another sniper."
       Spy.ng on the preparations and movements of the enemy.
       Assisting the friendly forces to concentrate its shooting and directing it
       against the enemy, or to break a siege against the Mujahidin.
       Protecting the leaders and patrdls of the Mujahidin.

       September   1-7


       81.    On or about September !L,2Ol7,I(hattab distributed in the StaffGroup

the below infographic which stated "Our upcoming terror     will make you forget what
you saw in New Yoek (sp) and Washington Raids!":

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                       OUR UPCOMING,TERROR WILL MAKE YOU FORGET WHAT YOU
                       SAW TN NEW YOEK AND WASHIN TON RAIDS !



      Las Vegas Attack

       82.   On or about October 2,2O!7, CCB claimed on the Staff Group that the

attack on the concert in Las Vegas "was executed by one of the soldiers of the

Caliphate." C2. then directed members of Khattab to "launch of an interactive

campaign along with the blessed operation that was executed by one of the soldiers

of the Caliphate in the American city of Las Vegas."

      83.    Later that day, Khattab published on The Staff Group the below

infographic with the following message in Arabic "America has drowned and there is

no rescuer. And   it has b-ecome a prey for the Caliphate       soldiers in every corner of

Earth." The infographic depicts the aftermath of the October L,2017, attack in Las

Vegas. CC3 directed Khattab members to disseminate the infographic.




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      Khilafah's Presents

      84.   On or about December Lg, 20L7, CCB distributed in the Statr Group a

photoshopped image of a headless Santa Claus sitting in a rocking chair next to a

Christmas tree holding his head and with the message "New design# Khattab Media

Foundation: Soon# the presents of the Caliphate State." The infographic says, in

English and Arabic, "The Khilafahs presents are on their way."




      85.   The infographic of the headless Santa was publicly disseminated. On

December 23,20L7 , CC1 distributed on the StaffGroup a report from a website which

contained a photo of the infographic along with other photos with the caption "Pro-

#Islamic State Media Outlets Circulating Posters Continues Threats Terror Attacks


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on #Christmas." CC4 replied to CC1's posting, "We ask Allah to help us turning our

words into actions, making our intentions purely for His sake."

      86.    On or about May 27,20L8, following the circulation in the Staff Group

of a report bya United States based media organization regarding pro-ISIS groups

threatening western cities and        a U.S. theme   park, and   a   link to an article by an online

media organization entitled olslamic Media Group Releases Infographic Video on Las

Vegas Attack," AL-SAFOO stated "Las Vegas video is destroying them. Our grfts are

ready, my dear."

       87.   On or about May 22,2OL8,AL-SAFOO encouraged Khattab members                         in

the Staff Group to continue the work in support of ISIS when he uploaded a video

called "Defeating the Enemy." AL-SAFOO stated ".work hard brothers. Cut the issue

to short c1ips. Take the pictures out of      it   and publish the efforts of your brothers      in

the pages of the apostates. Participate in the.war. Spread. fear. The State [ISIS] does

not want you to watch    it   only.   It incites you, and if it fails to do so, use it to incite
others. Betrayal is a grave sin that cannot be forgiven even by fasting the whole

month of Ramadan."

      Hiluteen Attacle

      88.    On or about December 3A,2OL7, CCB posted three infographics to the

Staff Group that contain threats. The fi.rst was captioned, "New design title: Blood




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and destruction is on its way, O you worshipers of the                                 Cross.

#Khattab-Media-Foundation. #[lilwan-Attack #MarMina-Church.              "14




      89.    The second infographic contained the caption, "#New design title'Do you

think you wiII be safe on your #holidays and your planes are bombing Muslims!!! By

Allah you will not eqioy your life as long as our hearts are                      beating'

#Khattab-Media-Foundation #MarMina-Church."




      90.    The third infographic stated, "#New design      title 'O you Crusaders,   O you

Infidels and O you Atheists,   by Allah, we will   spoil your lives, our men enjoy drinking




      1a  The Hilweenn (Hilwan) attack was an attack on the Marmina Coptic Church in
Cairo, Eeypt on December 29,20L7. Nine people were killed and ISIS claimed responsibility
for the attack.
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blood and enjoy the company of limbs'                   #Khattab_Media_Foundation

#Hilwan-Church."

      Catl for LoneWotf Attacks
      gL.    On December 30, 20L7, CCB posted to the Staff Group the infographic

below that was created by Khattab and whose purpose appears to be to encourage

"lone wolf'terrorist attacks in Western countries. The image depicted what appears

to be a jihadi fighter standing in front of the Eiffel Tower. The caption accompanyrng

the posting said, "To the Lone Wolves. #Khattab-Media
                                                         -Foundation"




      To The Lone Wolves
      Get ready and prepare for this
      ReIy on Allah and rest assured that an infidel and his killer will never
      meet in the hellfire.
      Raid them in their midst and break their hearts.
      Spread joy in the hearts of your Muslim brothers. Avenge the widows
      and the orphans.


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       Do not stay still, rather ruin their lives and slaughter the last one of
       them.
       Pray to Allah for steadfastness and acceptance in paradise

       C. Khattab Created and Published PTo.ISIS Articles

       92.   Khattab writers, including AL SAFOO, drafted articles that were

designed to gather support for ISIS.

       93.   For example, in his article "From Inside,'iAL SAFOO praised jihad and

mart;rrs who died for ISIS. AL SAFOO wrote, "Recognition of the truth of this false

world and. the beauty ofjihad was not hidden from the young men in the land of the

Caliphate who had just obtained the age of their religious obligation, so they

sacrificed all that is dear   in anticipation of what   God has on offer."   AL    SAFOO

criticized those who have not committed jihad. He wrote, 'You do not know that what

prevented you from Jihad is nothing but sins;      it is what imprisoned   you   just as an

adversary imprisoned an opponent. It wasn't enough for you to watch the mujahidin

who joined the march of the Caliphate...Even those with excuses are competing         with

the healthy ones in the arenas of battle. What is    it that frightens you but does not
frighten your sister? What is it that stops you but does not stop her?'

 .     D. AL SAFOO And His Co-Conspirators Staged Online 'G.aids" In An
          Effort To Flood Social Media With Pro-Isis Propaganda And Hid
          Their Identities With Anonymizing Software
       94.   As explained in more detail below, AL SAFOO'and Khattab members

orchestrated "raids" on social media platforms in which they obtained social media

accounts, and used those accounts, at scheduled dates and times, in an effort to post

large volumes of pro-ISIS propaganda. As described below, AL SAFOO and other

Khattab members were aware that social media platforms prohibit using their
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services to advocate violence or terrorism. As a result, they anticipated that accounts

used in the raids would be suspended or shut down during or soon after the accounts

were used to post pro-ISIS content. In an effort to access social media accounts, AL

SAFOO and other Khattab members took steps to acquire access to as many accounts

as possible to be used by ISIS supporters. They did this by creating social media

account "banks," sharing individual accounts with l(hattab members, and hacking

the accounts of legitimate social media users. In addition, AL SAFOO and other

Khattab members encouraged the use of software to hide the identities of Khattab

members who posted pro-ISIS coritent online.

        Khattab Co-Conspirators Coordinated Tlt itter Raids

        95.       On or about July 1-1, 2017, at approximately 1:37 p.m., CC3 posted to

the StaffGroup "We'll have anattack today at six o'clock Mecca time" and asked'TVho

does   want   a   T\uitter account, brothers? So that we can start". He stated that he'lsent

a private account" to CC6, who stated, 'Yes,        I got it." CC also offered to give CC6 "the

second one laccount] to mount a secret attack."

        96.       On or about JuIy 15,   2OL7   , CCI- coordinated another Tkitter    raid.   He

instructed, "[CC3]: Arrange the publications and the timing...While               I   get   some

accounts." IIe asked, "Brothers: Do you need. Tkitter accounts? I have five of them

with me as of now." Based on the content and context of this conversation, CCL was

planning to share Tkitter accounts with other Khattab members. Further, CCB was

arranging the timing of the raid and would provide pre-packaged links containing

content to be posted during the raid.


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      97.      Later the same day, CCB wrote, "Brothers: We will      carr:yr   out an attack

today, Altah willing, at eleven o'clock Mecea time," "Five minutes from now" and

instructed the co-conspirators to "Be ready."   CC1-   responded, "Let me de-activate the

accounts, and activate VPN      Mirtual Private Networkl". Based on my training and

experience, I assess that de-activating the account and actiVating VPN was an effort

to disguise the identities and locations of the co-conspirators participating in the raid.

      98.      CC1 coordinated similar   Tkitter raids with the Sta-ff Group on or about

Septembe   r   28,2017 and July g,2017. CC1 and CB coordinated a       Tkitter raid      on or

about July 19, 2O17.CC3 posted that there would be "an attack          in TWittey'' to the

Writer's Group on or about July 1, 2017.

      99.      On or about April L2, 20L8, CC16 posted to the staff Group, "I will

launch an assaulUinvasion on TWitter and will post the tweets here." Approximatgly

37 minutes later, he announced, the beginning of lhe raid, writing "Let us start

brothers, Allah blesses you."

       L00. On or about May 20, 20L8, CC13 announced           a Twitter raid to the Staff

Group, stating "Ready the accounts to invade active keywords on TWitter and

Facebook." He said there was      'A   release from Khattab'Media Organization. God

willing." He posted a link to a Khattab video titled "Ramadan is invasion          and   jihad"

to be posted during the raid.




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      AL SAFOO and Co-Conspirators Knew That Social Media Platform.s Closed or
       Suspen ded Pro-ISIS Accounts

       101. Based on open      source material,   I   know that social media platforms

including T$ritter and Facebook have terms of service that prohibit the use of

accounts to promote violence or temorism.

       LO2. As explained below, AL SAFOO and his co-conspirators were aware that

social media accounts used to promote violence and ter:rorism would be suspended or

closed. For example, on or about April 24,2O18; AL SAFOO re-posted an article in

the Staff Group explaining that Facebook had "removbd or put warnings on           1.9

million texts related to ISIS or al-Qaeda Orgarization during the first three months

of the year" and "Facebook prohibits the terrorists from using its nehvork." Based" on

my training and experience and the content and context of this message, I believe AL

SAFOO was sharing this information with other Khattab members so that they would

be aware that Facebook accounts linked to ISIS were tikely to be shut down and allow

them to take additional steps to ensure that they could continue to post pro-ISIS

content.

       103. Other Khattab     members shared similar'information on Social Media.

Application. For example, on or about August 23,2017, CC8, reposted information

in the Staff Group about "the deletion against Islamic State supporters intensifhingl

on social media, such as #Ttvitter and #Facebook" aS well as Social Media Application

und.er the "pretense" of terrorism.

       104. On or about February L2,20L8,     CCL wrote      that a video "was removed

for violation of YouTubel's] policy, we ask Allah for obedience." AL           SAFOO

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responded, 'I/ery normal." Similarly, on or about February t2,2018,        AL SAFOO
wrote in the StaffGroup, 'YouTube does not last. If you want     it to last longer,   You

have to provide me with YouTube account. An unused one." He added,           "I lost my
accounts. [sad face emojil'. Based on the content and context of these posts, I be]ieve

that AL SAFOO was aware that Khattab's and other pro-ISIS content violated
YouTube's policies and   that accounts sharing pro-ISIS propaganda would be shut
down quickly. A new, or unused, account would be needed to post pro-ISIS content.

        105. Because the social media accounts used in Khattab's raids   were likely to

be shut down, ICrattab took steps to maximizeeffi.ciency     in sending out pro-ISIS
content by providing pre-packaged messages for raiders to copy and paste. For

example, on or about JuIy 3, 2017 , CC1 prwided instructions in the Staff Group on

how to participate in the raids and acknowledged that the account would be removed.

        106. Khattab members routinely provided sources for       pre-packaged ISIS

propaganda that could be posted to social media. For example, on or about September

25,2017,CCS posted in the StaffGroup:

        Archives Ammunitions of Tkeets Channel ready for dissemination
        In reply to the Caliphate supporters'request, we provide its videos
        Invade [Social Media Application] to disseminate on Instagram and
        Facebook
        To save them the trouble of d,ownload,ing clips from links
  .     Here, the releases are divided into small clips
        A search tool for any release in the channel

CC8 then provided a    link to subscribe to the channel. Based on my training and
experience and the content and context of     this message, I undersiand that this
channel included searchable pro-ISIS content available to be posted on social media


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and that CCS was encouraging Khattab members to use this resource to spread ISIS's

message   of violent   jihad.   Further, because the content did not need to                 be

"download[ed] from links," more messages could be sent out via social media before

the Khattab members'accounts were closed for terms of serwice violations.

       1O7. Khattab members routinely provided sources for pre-packaged ISIS

propaganda that could be posted to social media. For example, on or about July 3,

2017 CCS wrote that he had been given a Tlvitter account and asked "where do we

find the postings that we need to disseminate?" In response, CCL explained that

tweets would be copied by CCB and he provided a hashtag, "#End-of-ISIS-lie," to be

used in the campaign. CC1 also asked "Brothers. Do your part, even      if it   is   just to set

up your brothers. Give them to me, and I will throw with your ar?ows."

       L08. Similar messages sharing "hreets ready for posting" were shared, by
CC16 in the StaffGroup on or about     April   10, 2018.

      AL SAFOO And Co-Coruspirators tlsed and, Shared Hacked. Social Med,ia
      Accounts to Auoid, or Delay Suspension of Pro-ISIS Accounts

      109.   As. described above,   the policies and practices of social media platforms

resulted in the suspension or closure of the pro-ISIS accounts used by AL SAFOO and

other Khattab members. To circumvent these policies, AL SAFOO and other Khattab

members discussed and shared methods of hacking into the social media accounts of

legitimate users.

      110.   On or about June 8, 2018, CCL4 engaged in a conversation in the Staff

Group with A.L SAFOO about using hacked Facebook accounts. Ccl4wrote, 'You

need a seized Facebook account." AL SAFOO responded,         "I need one provided that
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the owner is not a Muslim." Cclfresponded, 'lNo, a Crusader." Based on my training

and experience and the content and context of this conversation,       I understand that

AL SAFOO wanted a hacked              Facebook account   that belonged to a non-Muslim

Westerner [a Crusader] to use in promoting Khattab's pro-ISIS propaganda.

      111. Similarly,     on June 5,20L8,C1i-4,asked in the StaffGroup "Does anyone

need seized TWitter accounts?" AL SAtr'OO was the second person to respond,       writing

"and me too dear".

       L12.   On or aboutApril 12,20L8,CC13 discussed inthe StaffGroup the         utility

of hacking accounts   with another Khattab user. This other user wrote that hacking

an account 'ts better because    it   stays with you longer," and advised, 'You are better

offspending an hour hacking than a minute in creating an account. He then posted

instructions, via a video link, to register accounts with an email service provider in

order to hack   Tkitter   accounts and wrote, "this technique is only for the supporters

of the Caliphate." He further advised "Contact this bot" so you can be added to a

channel that contains available emails. 'Access to the bot required proof that a user

was an ISIS supporter, so CCLS advised "Tell him lthe bot account] that you are from

Khattab Establishment and he will add you."

      AL SAFOO and Khattab Members Shared Methods to Conceal Their ldentities
      to Auoid Detectiori by Law Enforcement

      113. On March L9,20L8,AL SAFOO reposted instructions in the StaffGroup
about maintaining anonymity and avoiding detection along with the hashtag #Your

security-is important to us. The instructions warned" that ISIS supporters were being

watched by government agencies. More specifically, he wrote:

                                                  4A
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      Know this, oh supporter, that you are wanted by the security agencies
      of a[ the governments in the world. Imagine, if the sympathizer of a
      supporter is being arrested and humiliated, what do you think if it's the
      supporter himselfl
      The governments have thousands of methods to hack your device, their
      goal is to find out your geographic location and gather evidence against
      you.

The instructions continued:

      You might wonder, 'How can I protect myself then?'...
      Don't do away with the secure VPN at all, no matter what, for there ape
      codes that the hacker can discover you location through, if you don't run
      the VPN, without the use of any external applications. In the event you
      run the secure VPN, he will know your cyber location, without knowing
      your real location.
      The secureVPN means encrypted and even the mother company can't
      give your file to any governmental party.
      As for the unsecure VPN, it's unencrypted and your file will be given to
      the governmental party upon request.
      If you were using a browser other than TOR15, don't forget to download
      applications to prohibit any leak of your personal IP, in any of the
      circumstances, such as WEBRTC anduBlock Orgin, and there are other
      applications that prohibit the leak of your personal IP.

       L1,4. On or about Septem ber 27 ,2Ol7,AL SAI'OO reposted an advertisement

in the Staff Group for a course in publication uploading: "Today, Wednesday, is the

last chance to register for the second course of publication uploading, be a Mujahid

and" don't be   a spectator." The advertisement included a link to the course and

"suggest[ed] using the secured browser, TOR." Based on the context of this post,   I
understand that the course was targeted to jihadists ("be a Mujahid and don't be a

spectator"). Further, AL SAFOO was.encouraging fellow Khattab members to learn




      15   TOR (The Onion Router) is free software for enabling anon)nnous online
communication.
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technical skills related to online publishing and to use TOR to protect their anonymity

as participants in the courser

       115.     On or about March 26,20L8, AL SAFOO reposted, in the Staff Group,

another warning to Khattab members to use VPNs to hide their identities. The post

described the "widespread" practice among "the supporters" [of ISIS] to post links

containing "publications"     that are "from         NabaT News         or the IISISI    official

publications." The post warned that a certain Website "gathers the materials related

to Jihad &om a1l the Jihadi groups in the world, in order to study it, submit ideas on

how to fight the extremists, track the extremist, or take other measures. Every person

who logs into the site or the posted link, his personal IP number will be stored         within

the site's data,so the person can be tracked and information about him are gathered."

It continued,   "Therefore, don't access   it   except   with a good VPN, or avoid it   as much

as possible. Don't let your brothers faII       in the traps of the enemy, warn them of the

matter and guide them for what is benefi.cial and safe for them."

V.     AL SAFOO is the Llser of Accounts "Abu Al'-Abbas Al-Iraqir" "Abu
       Shanabr'AND "Abbusi"
       1L6.     AI   SAFOO has taken great measures               to   conceal   his activity   on

Khattab's social media accounts. For example, AJ, SAFOO uses Social Media

Application, which uses end-to-end encrypted communications. AL SAFOO also

infor:ned UCE1 that he uses a second phone (Subject Phone L), separate from his

personal telephone, to cond"uct all his Khattab-related online activity. According to T-

Mobile, this device is associated with a prepaid" wirelesb service plan that appears to

be paid   in cash, which makes it more difficult to trace its       user. As explained below,

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when AL SAFOO connects to the Internet through Subject Phone              1-,   he uses   a   Virtual

Private Network (VPN),16 which disguises SAtr'OO's IP address by making it appear

that his online activity originated at an IP address for a VPN service provider in the

Netherlands. This allows him to mask his IP addresses and limits the ability to trace

internet activity to his location. And, as described below,          AI   SAFOO also uses a

variety of different email and other electronic accounts to hide his conduct.l7

       117. I have reviewed email provider records for multiple email                     accounts,

information captured by UCE1 from the l(hattab groups on Social Media Application,

and the results of court-authorized searches of email accounts. Despite AL SAFOO's

attempts to conceal his identity and conduct, I have been able to determine that AL

SAFOO       is the use.r of the monikers "Abu AI'-Abbas Al-Iraqi," "Abu Shanab" and

"Abbusi" on Social Media Application.

       L18.      Specifi.cally, as set forth below,   I have deterrnined that'Alu Al'-Abbas

A1-fraqi," "Abu Shanab" and'Abbusi" are the same person, and that the person using

these monikers also uses email accounts controlled by           AI   SAFOO. AL SAFOO has

also used similar monikers for a PalTaIk account associated with his telephone

number.     AI   SAFOO also discussed. his use of PaITalk on Social Media Application.




       16 VPNs are used to maintain online anon5rmity. They assign temporary IP addresses
to a user, which disguises that user's true IP address when the user connects to websites or
other online services.
     u As discussed above, AL SAFOO's efforts to conceal his identity are consistent with
messages sent among Khattab members by AL SAFOO and other co-conspirators
encouraging the use of VPNs and other measures to conceal their true identities.
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      A   Users "Abu Al'-Abbas Al-Iraqir" "Abu Shanab" and *Abbusi" on
          Social Media Application Are The Same Person

       119.   As explained below, Social Media Application user @abuAl-Abbas, with

username, "Abu Al-Abbas Al-Iraqi" is the same as the individual using username,

'Abu Shanab."

       t20. According to review of the materials   on the StaffGroup, and   illustrated

by the    examples below,      AL   SAFOO used the nickname 'Abu Shanab" from

approximately September 4, 2017 to November 12, 20L7.         AI   SAI'OO used the

nickname "Abu Al'-Abbas Al-Iraqi;' from approximately Deiember '7, 2017 to

approximately May L, 20L8.          AI   SAFOO used the nickname "Abbusi" from

approximately May 2,2018 to June 20,20L8.

       721.   For example, on September 8,20L7,a member in the StaffGroup wrote,

"Abu AllAbbas, how are you, good man??" Approximately thirteen seconds later, "Abu

Shanab" respond.ed to the query with, "Greetings, brother."

      L22. On or about October 79,2017,       a member in the Statr Group wrote the

name, "Abu AI-Abbas," in what appeared to be a roll call. Less than two minutes

Iater, "Abu Shanab" responded; "Absent," and then added, "I am present,      f   am not

absent (smiley face emoji)."

       L23.   On the same day,less than one minute later, CCB wrote, "And upon you

be peace, mercy and blessings of Allah, Greetings to you my dear brother, Abu al-

Abbas, May Allah bless you." Approximately 20 seconds later, group member 'Abu

Shanab" responded, 'You just wanted us to worry about you."



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       124.    On October 2t,2017, CCg wrote, 'Abu AIJAbbas, you are right on time."

Less than 30 second later, group member'Abu Shanab" wrote, "LOL, hello. Give me

your order."

       L25. Similarly, "Abbusi" is the same as the individual using monikers 'Abu

Shanab" and'Abu A1-'Abbas Al-Iraqi".

       126. On or about February 23, 20L8, UCE1 began a private             messaging

conversation with AL SAFOO, who was using the moniker'Abu AI-Abbas" on Social

Media Application. No other Social Media Application user was present in that chat

session. The profiIe picture used by "Abu Al-Abbas" is depicted belov:




      127. On or about May 2,20L8, AL SAFOO's nickname changed to 'Abbusi."
Historical screenshots of the private chat between UCE1 from April L7,201,8 to May
g, 2018 show 'Abbusi" used the same profile picture, depicted above, as 'Abu AI-

Abbas."

      L28. In addition, Khattab members       ofben responded to posts by "Abbusi" by

addressing "Abbusi" as "Abu Al Abbas.l'For example:

          a.   On May 3, 2018, 'Abbusi" posted in the Staff Group, "I think that I   will

               post it." A minute later, UCE1 responded to "Abbus,i's" post,   "It is   a

               beautiful voice...you are awesome Abu-al-Abbas my dear!"

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         b.      On May 18, 2018, CC2 introduced a new member of the Writer's Group

                 to "Abu al Abbas" and stated that "Abu Al Abbas" was "the head of the

                 division here" and that "copies of articles will be here for review God

                 willing. Abu aI Abbas will brief you more." Later, 'Abbusi," using the

                 profile picture depicted above,'and with the notati on admiru next to his

                 name, responded to the new member 'You are welcome gracious

                 brother."
             .
         c. On May 29,2018,         "Abbusi" posted two paragraphs in the Staff Group

                 titled, "The land of lraq, the cradle of Caliphate." An hour later, a
         '       Khattab group member was the first user to respond. That member

                 wrote, "God bless you, Abu-allAbbas."

         d.      On June 4,2;frL8, a user posted in the StaffGroup, "Peace and mercy of

                 Allah be upon you." Less than 20 seconds later, "Abbusi" posted, "And

                 upon you.be peace and" mercy of Allah." Less than 5 seconds later, the
                     .    r          1 a ala      , c  - TT- - -I-I-I- r- rf-
                 sarne member responded, "Greetings from Handalah      to the beloved Aba

                 al-Abbas. How are you o dear?"

         e. In none of these instances did "Abbusi" tell UCE1 or other Khattab
                 members that he was not "Abu al Abbas."

      LZg. Based on the context of these communications, I believe that "Abbusi,"

"Abu Shanab" and JAbu Al'-Abbas AI-Iraqi" are the same person.




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      B. AL SAFOO uses Subject Email Acconnt s Lr 2, g, 4, 5 anrdT rwhich are
         linked to posts on Social Media Application by "Abbusi," "Abu
         Shanab" and "Abu Al'-Abbas Al-fraqi"

      130. I reviewed   records for Subject Email.{ccount 1; Subject Email Account

2; Subject Em-ail Account 3; Subject Email Account 4; Subject Email Account 5; and

Subject Email Account 7. As described below, AL SAFOO is the user of each of these

accounts.

      AL SAFOO is the user of Subject Email Account    7.

      131.   On or about January 13, 2018, AL SAFOO was interviewed by Customs

and Border Protection (CBP). The interview was recorded. During the interview, AL

SAFOO stated that he is the user of Subject Email Account l-. Based on a review of

records from Google, the subscriber of Subject Email Account l- is "Abo-Mohammad

Ashraf' and the recovery email address is Subject Email Account 4. Based on my

training and experience and review of records from Google, I know that a recovery

email address is an email address registered. by a user in case the user is locked out

of the account.

      AL SAFOO is the user of Subject Email Account 2-

       132. According to Google records, Subject Email Account 1 is listed as       a

recovery email address   for Subject Email Account 2. According to records, the
subscriber name on this account is Abo Mohammad Al Iraqi, which indicates the user

is from lraq, consistent with AL SAFOO's background. According to information




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produced by Google, "cookies"l8 indicate that the same device accessed Subject Email

Accounts 1 and 2.

      AL SAFOO is the user of Subject Email Account         3.

       133. According to     Google records, Subject Email Account l-        is listed as a

recovery email address for Subject Email Account 3. According to subpoena returns,

the username and subscriber name ("Alsafoo A]safoo") are consistent with                 AI-.,


SAFOO's name and similar to the username for Subject Email Account 1. Also,

according to information produced by Google, "cookies" indicate that the same device

accessed Subject Email Accounts L and 3.

      AL SAFOO is the user of Subject Email Account         4.

       L34. According to Google records, Subject Email Account 4 is listed as the

recovery email address for Subject Email Account 1 (and Subject Email Account l- is

the recovery email address for Subject Email Account 4). According to Google records,

the subscriber name on the account is Ashraf aI Safoo. The username, iraqimousl, is

consistent with AL SAFOO's place of birth (Mosul, Iraq). According to information

produced by Google, "cookies" indicate that the szlme device accessed Subject Email

Accounts 1 and 4.




       18 Based on my review of information received from Google, Google keeps records that
can reveal accounts accessed from the'same electronic device, such as the same computer or
mobile phone, including accounts that are linked by "cookies," which are small pieces of text
sent to the user's Internet browser when visiting websites.'
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      AL SAFOO is the user of Subject Email Account 5)
      135. According to     Google recerds,   the subscriber name on the account is

"ZorynaMcckee" and the recovery email for the account is z5rrasmithS@gmail.com.1e

The account was created on October 5,20L7 , using IP address 5.79.16.77. According

to open source seaiches,.IP address 5.79.76.77 resolves to LeaseWeb, an internet

service provider in the Netherlands that provides VPN serwices. As described in more

detail below, SAFOO has used LeaseWeb.

      l-36.   According to information prod.uced by Google, "cookies" indicate that the

same device accessed Subject Email Accounts 5 and 7, which are both used by AL

SAFOO.

      AL SAFOO is the user of Subject Email Account     7

      137. According to     Google records,   the subscriber   nEune   for Subject Email

Account 7 is that of a known journalist who was killed by ISISin 2OL4. According to

information produced by Google, "cookies" indicate that the same device accessed

Subject Email Accounts 1 and 7.

      Cornmon IP Add,resses Were lJsed, to Access Subject Email Accounts 7'7

      138. IP addresses also demonstrate       that AL SAFOO is the user of Subject

Email Account 7. According to records obtained through a court-authorized search,

Subject Email Account 7 was active from October L3, 20L7 through January 2,20L8.




      ie ZyrasmithS@gmail.com is subscribed to by "ZWa Smith." The recovery email
address for zyrasmithS2gmail.com is shami-01-@butanota.com. As described below,
shami_01@tutanota.com is an email address associated with a Palta]k account used by AL
SAFOO.
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IP addresses used to log into Subject Email Account 7 were also used to log into Subject

Email Accounts 1,2, 4, and 5. For example:

           a. IP address   185.230.L25.L35 was used to log into Subject Email Account

                7 behneen December'16 and December            tg,   2017   .   The same IP address

                was used to log into Subject Email Account 4 multiple times on

                December 18,2077.

          b. IP address      L85.212.L70.120        was used to log into Subject Email

                Account 7 multiple times on October24,20t7. The same IP address was

                used to log into Subject Email Account 4 hundreds of times in December

                2017.

           c.   IP address 185.212.170.118 was used to log into Subject Email Account

                7 twice on December   9,   2017.The same IP address was used to log into

                Subject Email Account L on November 1,2017.

           d.   IP addres s L85.212.170.119 was used to log into Subject Email Account

                7 on November 10-1L, 20Ll and December 9-10, 20L7. The same IP

                address was used to log into Subject Email Account l- on November 12

                and November L4,2017.

           e.   IP address 85.212.L70.L20 was used to log into Subject Email Account 7

                on October 25,20L7. The same IP address was used to log into Subject

                Email Account 1 on October 26,2OL7        .



                IP addres s 185.2L2.170.119 was used to log into Subject Email Account

                7 on November 10-11,       2O1-l7   and December 9-10, 20L7. The same IP

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                address was used to log into Subject Email dccount 2 on November 14,

                20L7.

           C'
           b.   IP addres s 94.75.250.216was used to log into Subject Email Account           7


                behreen November 5 and November 8,2017. The same IP address was

                used to log into Subject Email Account 5 on November 6 and 7,2OL8.

           h. IP address 85.2L2.170.t2O was used to log into Subject Email Account 7

                on October 25,2017. The same IP address was used to log into Subject

                EmailAccount 5 on October23,2OL7.

      139. AII of the IP addresses            referenced above belong        to   LeaseWeb, a

Netherlands-based Internet service provider that also provides VPN services. Based

on data from an internet service provider for AL SAFOO's home, AL SAFOO is a user

of LeaseWeb's senrices. Similarly, Subject Email,Accounts 1 through 4 and                 7 all
frequently were accessed through LeaseWeb IP addresses.

       L40t.    Moreover, LeaseWeb's reeords indicate many of these IP addresses were

assigned by Leaseweb to ExpressVPN, another internet service provider               that offers

VPN seryices. AL SAFOO's financial records show pa5nnents to ExpressVPN.

       14L. AL      SAFOO's use of VPN seryices        is   consistent   with the operational
security methods he advocated online. VPN services hide a user's online activities. For.

exnmple,   AI   SAFOO encouraged UCE1 to use \IPN services.

       L42. In tight of the overlap betrryeen       cookies, recovery email addresses, fP

addresses, and use of VPN services,        I believe that AL   SAFOO is the user of Subject

Email Accounts \, 2, 3, 4, 5,   and. 7 .


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       C.   AL SAFOO's Email Addresses are Connected to Social Media
            Application Users "Abu Shanab" and "Abu Al'-Abbas Al-fraqit'
       t43. I reviewed    records for Subject EmailAccounts     1,2,3,4,5     and 7 and

Socia1 Media Application postings by "Abu Shanab" and "Abu AI'-Abbas.Al-Iraqi."

This review connected AL SAf'OO's email addresses with Social Media Application

postings by'Abu Shanab" and "Abu Al'-Abbas AJ-Iraqi."

       t44.    First, records provide by Google show the user of Subject Email Account

5 posted YouTube videos on Social Media Application as Khattab user "Abu Shanab"

and'Abu Al'-Abbas Al-Iraqi." On or about October 11,20t7, Social Media Application

user "Abu Shanab" posted several URLs in the StaffGroup. Under the URLs, "Abu

Shanab" wrote: "New links uploaded by me. For the release. State of Al-I{ryav.'l2o

One of the IIRLs was https://photos.app.goo.gllRnCFPqljoXhSqdOO(X           According to

Google records,    this URL (photos.app.goo.gl) is for a    Goog1e Photos account for

Subject Email Account 5.

        145.   Second, court-authorized searches of Subject Email Account 7 revealed

that AL SAI'OO pqsted ISIS propaganda to YouTube using Subject Email Account 7.

Soon thereafter, users "Abu Shanab" and "Abu Al'-Abbas      Al-Iraqi" posted the unique

YouTube links for the same videos to Khattab groups on Social Media Application.

Additionally, Khattab-created propaganda was found in Subject Email Account         7.




20State of Al-I(ryar is in reference to Dayr AzZawr. Dayr AzZawr is a town in Eastern
Syria, which was an ISIS stronghold.
                                                 r..,
                                                 52
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          The Nouember 6,2017 uideo

          146.   On Novemb er 6,2017, at approximately 2:26 p.m., 'lAbu Shanab" posted

the URL: http://www.youtube.com/watch?v=>d(As34A)OOO(, arrd a still shot of an

ISIS beheadingvideo in The StaffGroup. The video displayed ISIS's black flag in the

corner.

          147. On November 7, ZOtl, at approximately 1:33 a.m., AI SAFOO, using

Subject Account 7, perforrned an internet search for the Arabic text contained in the

hashtag of the video.above.        I   believe AL SAFOO was searching to see    if his video
would come up in open source searches.

          148. At approximately        2:O2 a.m., on November   7, 20i17,AI   SAFOO, using

Subject Account 7, received an email message containing the YouTube URL

referenced above. This email confirmed             that the user of Subject Account 7
(AI   SAEOO) had successfully posted the video to YouTube. Approximately one hour

later, Subject Account 7 received a message stating that the YouTube video             was.

removed because its content violated YouTube's guidelines.

          LAg. Based on my training and experience, I believe that AL SAI'OO used

Subject Email Account 7 to post the YouTube video to the StaffGroup on Social Media

Application.

        The Deceinber   1-7,   2017 uideo

          150. On December 17, 20L7, at 1:48 o.ffi., 'Abu Al'-Abbas A1-Iraqi" posted. a

series of links to the Staff Group. Among them was 'i#A-l-Hayat Media Center

presents   fVisual: From Within 5"                       along with            the    URL


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http://www.youtube.com/watch?v=6YdmY-z)OOOL           "Abu AI'-Abbas Al-Iraqi" then

wrote, "lVorking Youtube links for posting." Based on my training and experience

and the content and context of this post, I understand that AL SAFOO was sharing

pro-ISIS content with Khattab members for them to repost on social media and other



      l-51. On December L7,2017, at2:35p.ffi., AL        SAFOO, using Subject Email

Account 7, received an email from YouT\rbe stating that YouTube user "Harabi,"

posted a        "new comment on your video," Iocated at                            URL

http ://www.youtube. com./watch?v=6YdmY-z)OoO(.

       152. Seventy-four minutes later, AL    SAFOO, using Subject Email Account 7,

received   a   medsage    from YouTube stating the video located, at               URL

http://www.youtube.com/watch?v=6YdmY-z)OOO( Was removed because              its content

violated YouTube's guidelines.

      The March 28, 201"8 uideo

      153. On or about March 28,2018, the          Google Drivezl account for Subject

Email Account 7 contained a video file titled "libya-L.mp4" which was a pro-ISIS

propaganda.video produced by Khattab. Khattab Media Foundation appears in

writing in the video. The video showed, among other things, images of ISIS fi.ghters

fighting in Libya.




       z1 Google account holders can store files, including but not limited to e-maiIs,
documents, and image files, on servers maintained and/or owned by Google. The online data
storage service is known as "Google Drive."
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      The December 2L,2017 Pro-ISIS Newsletter

      1,54. On December 20, 2017, at 2:36 a.ffi., user "Abu Al'-Abbas Al-Iraqi"

posted, a   link in the Staff Group to a pro-ISIS newspaper, "Al-AnfaI, issue 4," an:d

noted that his article and Khattab's media logo were published in this newsletter. On

December 2L,2OL7,at 1:33 a.m., AL SAFOO's Goog1e Drive account for Subject Email

Account 7 contained "Al-Anfaal, issue 4."

      D. AL SAFOO Used Monikers similar To "Abu Al'-Abbas Al-Iraqi" For
         His Paltalk Accounts
      AL SAFOO is the user ofsubject Email Account         B

       155.    According to   Al,   SAFOO's immigration records,     AL SAFOO provided

Subject Account 8 as his email address on his passport application. According to

Yahoo records, Subject Account 8 was subscribed to by AshrafAl-Safoo, with recovery

email address Subject Email Account 1 and telephone        number               0055'

      AL SAFOO is the user of Subject PalTalh Account          1-'


       1b6.    According to Paltalk records,22 Subject Email Account 8 is the subscriber

email address for a PalTaIk account subscribed to hy "Ashraf Al-Safoo" ("Subject

PalTalk Account l-"). The nickname for the account was "3ra8e-ase1."




       22 Based on my training and experience, I have learned that Paltalk is a proprietary
video group chat service that enables users to communicate via video, internet chat, and
voice. it off"rr chat rooms and the ability for users to create their own public virtual chat
room. paltalk users can also have private video chat sessions with up to fifteen other users.
paltalk Desktop is available on macOS and Windows while Pattalk Video Chat App is
available for Android and iOS. To sign up, a user must pr.o-vide an email address, and choose
a nickname and password.
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            AL SAFOO is the user of Subject PalTalh Account 2.

             157.   A   second PalTalk account was subscribed under email address

    shami-0L@tutanota.com (Subject PalTaIk Account 2).zz The username for Subject

    PaITalk Account 2 is "abo aI abbas-l-" which is substantially similar to AL SAFOO's

    moniker "Abu Al'-Abbas Al-Iraqi" on Social Media Application. According to PaITalk

    records, Subject PalTalk Accounts 1 and 2 logged            in from the same device.       On

    Novembe r 4,2017 ,IP addres     s 46.246.L237   was used to access Subject Email Account

    4 and Subject PalTalk Account 2. TWo other IP addresses were used to access both

    accounts on different dates.

            158.    On November 24,2017 , as A-L SAFOO was reentering the United States,

    a CBP search revealed that he was carrying an Apple mobile telephone. Accordingto

    Apple's records, this device was associated with email                                account

    shami-02@tutanota.com, which is nearly identical to shami-01@tutanota.com, the

    subscriber email for Subject Paltalk     Account2.za                                           :



            AL   SAFOO is the user of Subject PatTalh Acc'ount 3.

            159.    A third PalTalk      account was subscribed under email address

    ash.aponte.84@tutanota.com (Subject PaITalk Account 3). The username for Subject

    PalTaIk Account 3 is "Abo-Al Abbas", which is substantially similar to AL SAFOO's



I         z3 This is the same email address listed as' the recovery email address for
    ZyrasmithS@gmail.com. ZyrasmithS@gmail.com is the recovery email address for Subject
    Email Account 5. Based on the connections between Subject Paltalk Account 2, Subject
    Email Account 5 and ZyrasntthS@gmail.com, I believe that each is used by AI SAFOO.
            2a This email address also is associated with a Skype account that has the identical
                                                                       *Abu Al'-Abbas Al-Iraqi"
    profile picture as the Social Media Application profile picture of
    and   "Abussi."
                                                     E6
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moniker'Abu Al'-Abbas A1-Iraqi" on Social Media Application. According to PalTalk,

Subject PalTalk Accounts L and 3 logged in from the same device. Also, on August 20,

20L7 (three instances), and December 3,20L7 (two instances), the IP addresses used

to access Subject Email Account 4 were used to access Subject PalTaIk Account 3.

         AL    SAFOO is the user of Subject PatTatk Accourfi 4.

         160.    According to PalTalk, Subject PaITalk Account 4 is registered to email

address abo.alabbas@bk.ru and uses the nickname 'Abo al-abbas", which is

substantially similar to AL SAFOO's moniker "Abu AI'-Abbas Al-Iraqi" on Social

Media Application.

         161. I know that internet users often     use the same or similar moniker online

across various online services.       AL SAFOO's various PalTalk nicknames identified

above are similar to the Socia1 Media Application user "Abu Al'-Abbas."        I therefore
believe that AL SAFOO was the user of Subject PaITalk Accounts            t, 2 and,3 and
Social Media Application account        with username "Abu Al'-Abbas"

         E.   AL SAI'OO Discussed His Use of               PalTalk   on Socia] Media
              Application
         162. On October     L8, 2017 , "Abu Shanab" posted in the Staff Group "By A1lah

o   my dear, it has been a very long time since I joined Paltalk." EIe further stated that

he would      try to access PalTalk   on the following Sunday evening, October 22,2OL7.

         163. AL SAI'OO, using Subject Email        Account 8, received notifications from

PaITaIk on March 17, 20t7 , June 14, 2A17, and September L4, 20L7, addressed to

"3ra8e_asel," the usernarne for Subject PalTalkAccount 1. The notifi.cations indicated

that   1AL
             SAFOO had not recently used his PaITalk account and invited him to use the

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seryice again. Subject Email Account 8 stopped receiving the above notificatiops after

September 20LT,indicating this user accessed and used Paltalk.

VI.      Conclusion
         For the reasons stated herein, there is probable cause to find thatASHRAFAL

SAFOO has conspired to provide material support or resources to ISIS, in violation

of   Title 18, United States Code, Section 23398.



                                          FTTRTHER AFFIANT SAYETH NOT.




                                          Special Agent, Federal Bureau of
                                          Investigation


         SUBSCRIBED AND SWORN to before me on October 16, 2018.




         M. David Weisman
         United States Magistrate Judge




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